	NO. 07-10-0338-CR
	
	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL B

	OCTOBER 19, 2010
	______________________________

	GARY DEAN POSEY,

		Appellant

	v.

	THE STATE OF TEXAS, 

		Appellee

                       ________________________________

	FROM THE 108th DISTRICT COURT OF POTTER COUNTY;

	NO. 61,421-E; HON. DOUG WOODBURN, PRESIDING
	_______________________________
	
	ON ABATEMENT AND REMAND
	_______________________________

Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
Appellant appeals from his conviction for possession of a controlled substance.  Neither the clerk's record nor the reporter's record has been filed.  Furthermore, a request has been made by the district clerk to extend the deadline by which the appellate record must be filed.  Through the request, we are told that appellant has not paid or made arrangements to pay for the appellate record and that no attorney has been appointed to represent him on appeal.

Accordingly, we abate this appeal and remand the cause to the 108th District Court of Potter County (trial court) for further proceedings.  Upon remand, the trial court shall determine, by reasonable evidentiary procedure it selects, the following:
1.  whether appellant desires to prosecute the appeal; 
    	2.  whether appellant is indigent; and, if so,
3.  whether the appellant is entitled to a free appellate record and the appointment of an attorney due to his indigency. 

The trial court is also directed to enter such orders necessary to address the aforementioned questions.  So too shall it include its findings on those matters (including the name, address, and phone number of any attorney it may appoint to represent appellant in this appeal) in a supplemental record and cause that record to be filed with this court by November 18, 2010.  Should further time be needed to perform these tasks, then same must be requested before November 18, 2010.  In the meantime, all other appellate deadlines are stayed until further order of this court.
It is so ordered.
Per Curiam
Do not publish.
